 Case 2:16-cv-06576-KM-MAH Document 2 Filed 10/05/16 Page 1 of 2 PageID: 55



REED SMITH LLP
Formed in the State of Delaware
Peter D. Raymond, Esq. (pro hac application forthcoming)
Sarah Levitan, Esq.
599 Lexington Avenue
New York, New York 10022
Tel: (212) 521-5400

Tracy Zurzolo Quinn, Esq.
Princeton Forrestal Village
136 Main Street, Suite 250
Princeton, New Jersey 08540
Tel: (609) 987-0050

Attorneys for Plaintiff
Industria de Alimentos Zenú S.A.S.

                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY
INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.
                                                     Civil Action No. 2:16-cv-6576
                         Plaintiff,

v.                                                   PLAINTIFF INDUSTRIA DE
                                                     ALIMENTOS ZENÚ S.A.S.’S
LATINFOOD U.S. CORP. d/b/a ZENÚ                      CORPORATE DISCLOSURE
PRODUCTS CO. and WILSON ZULUAGA,                     STATEMENT

                         Defendants.


        Pursuant to Federal Rule of Civil Procedure 7.1, undersigned counsel for plaintiff

Industria de Alimentos Zenú S.A.S. (“Plaintiff”), hereby certifies that Plaintiff, a non-

governmental corporate party, is a wholly-owned subsidiary of Grupo Nutresa S.A., a publically

held corporation traded at the Bolsa de Valores de Colombia.
 Case 2:16-cv-06576-KM-MAH Document 2 Filed 10/05/16 Page 2 of 2 PageID: 56




Dated: New York, New York          REED SMITH LLP
       October 5, 2016

                                   By: s/ Sarah Levitan
                                       Peter D. Raymond, Esq.
                                          (pro hac application forthcoming)
                                       Sarah Levitan, Esq.
                                       599 Lexington Avenue
                                       New York, New York 10022
                                       Tel: (212) 521-5400
                                       Fax: (212) 521-5450

                                       Tracy Zurzolo Quinn, Esq.
                                       Princeton Forrestal Village
                                       136 Main Street, Suite 250
                                       Princeton, NJ 08540
                                       Tel: (609) 987-0050
                                       Fax: (609) 951-0824

                                       Attorneys for Plaintiff
                                       Industria de Alimentos Zenú S.A.S.




                                    -2-
